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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF FLORIDA
                                        TALLAHASSEE DIVISION



              AUGUST DEKKER, et al.,
                      Plaintiffs,
                      v.                                      No. 4:22-CV-00325-RH-MAF
              SIMONE MARSTILLER, et al.,
                      Defendant.



                                      DECLARATION OF BRIT ROTHSTEIN
                     I, Brit Rothstein, hereby declare and state as follows:

                     1.       My name is Brit Rothstein. I am a plaintiff in the above-captioned

             action and submit this declaration in support of Plaintiffs’ Motion for a Preliminary

             Injunction.

                     2.       I am over the age of 18, of sound mind, and in all respects competent

             to testify. I have personal knowledge of the information contained in this Declaration

             and would testify completely to those facts if called to do so.

                     3.       I am 20 years old, and I live in Orange County, Florida where I attend

             the University of Central Florida (UCF). When I am not at school, I live in Broward

             County, Florida with my dad and my twin sister. I have lived in Florida all of my

             life.
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                     4.       I receive my health insurance coverage through Medicaid, as

             administered through Sunshine Health because of my age and my family’s limited

             income.

                     5.       I am a junior in college and I am studying digital media and minoring

             in information technology. I am taking 15 credits this semester and I also participate

             in a federal work study program which, provides part-time jobs for students with

             financial need. I have a full scholarship to attend UCF, and that is the only way that

             I am able to go to college, as my family is low-income and could not otherwise afford

             tuition and living expenses.

                     6.       I am a man and I am also transgender. I was incorrectly assigned the

             sex female at birth, but my gender identity is male.

                     7.       I experience gender dysphoria related to the disconnect between my sex

             assigned at birth and my gender identity. Since the third grade, I have been aware of

             my gender identity. When I was younger, my mom would try to force me to wear

             dresses to church but I hated dresses and I only wanted to wear slacks. I didn’t

             understand why I couldn’t have short hair, I didn’t understand why boys were

             allowed to like blue but girls were expected to like pink, and I came to understand

             that gender expectations were often based on stereotypical assumptions about how

             people should look and dress and behave. Those rigid societal rules never made

             sense to me, even as a child.
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                     8.       In the sixth grade, my anxiety and depression surrounding my sex

             assigned at birth was exacerbated, and I would become physically ill when I had to

             go into the girls’ locker room for P.E. Fortunately, there was a guidance counselor

             who understood the discomfort I experienced in the locker room and the manifesting

             anxiety and distress it caused, so she helped me transfer out of P.E.

                     9.       In the seventh grade, I was seeing a therapist in the Broward County

             school system due to unrelated issues, Dr. Renae Lapin, LMFT. She saw how much

             I was struggling with not being able to live my life as a boy and, through my sessions

             with Dr. Lapin, I became more comfortable with how I was feeling and came to

             understand that I was a boy. Dr. Lapin helped me navigate how to talk to others

             about my gender identity.

                     10.      After a lot of research about how to explain to my family how I felt and

             that I was transgender, I came out to my dad in 2015 and asked that I be treated in

             accordance with my male gender identity. My parents are divorced and my mom is

             not accepting of LGBTQ+ people and would not have understood, so I came out

             only to my dad at first. He was very supportive and allowed me to wear a binder (a

             garment that helps to give the appearance of a flatter chest) at his house and live as

             my true authentic self when I was there. I was not able to do so at my mom’s house

             because she disapproved of my living in accordance with my gender identity. When

             I did finally come out to my mom in 2016, she called me an “abomination” and
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             disowned me. I unfortunately do not have any contact with her or her side of the

             family.

                     11.      In July of 2016, when I was 14 years old, I began seeing Dr. Deborah

             Grayson, and I continued therapy with her until I went to college. Dr. Grayson

             diagnosed me with gender dysphoria and, after a couple of years of consistent

             counseling, she referred me to Joe DiMaggio Children’s Hospital to meet with a

             pediatric endocrinologist. Because my mother objected to my care for my gender

             dysphoria, I was not able to receive gender-affirming care until my dad went to court

             and was finally granted sole decision making as it related to issues involving my

             gender identity. My dad understood how important it was for me to access medically

             necessary care recommended by doctors with expertise in gender dysphoria.

                     12.      After a long road of fighting for access to gender-affirming healthcare,

             I was finally able to see Dr. Sarah Hart-Unger, a pediatric endocrinologist at Joe

             DiMaggio, when I was 17 years old. I had been diagnosed with gender dysphoria

             four years prior and had been in consistent and regular counseling since that time. I

             was living in accordance with my male gender identity to the extent possible, given

             my family situation. Dr. Hart-Unger determined that it was medically necessary for

             me to begin hormone blockers, and she prescribed them for me and oversaw my

             treatment. I began cross-sex hormone therapy as medically necessary treatment for

             my gender dysphoria at Dr. Hart-Unger’s recommendation. Medicaid has covered
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             my gender-affirming healthcare needs, including therapy, blood tests, office visits,

             and my prescriptions for hormone blockers and testosterone.

                     13.      Hormone therapy, in the form of testosterone, has impacted my life in

             so many positive ways, including the changes to my physical body, my mental and

             emotional health, and even the self-confidence I have gained through existing in a

             body that feels more like my own.

                     14.      When I was 18, I was able to obtain a court order for legal name change,

             changing my legal name to Brit Andrew Rothstein, which aligned with my gender

             identity and who I know myself to be. I also amended my legal government-issued

             identification documents to reflect my new legal name and my legal gender marker,

             male.

                     15.      I continue to experience significant dysphoria related to my chest. Ever

             since my chest developed, I have hated the way it looks and feels and have long

             known that I need to have top surgery to bring my body into alignment with who I

             am.

                     16.      I wear a binder almost every day, usually for 10-12 hours per day,

             depending on my schedule. My binder causes me discomfort, it leaves skin

             indentations, and sometimes causes bruising on my ribcage. Once, in 2018, I had to

             go to the Emergency Room for chest contusions caused by wearing my binder for

             too long. Having top surgery will mean that I no longer have to wear a restrictive
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             binder all of the time just to navigate my daily life. Unfortunately, there are very few

             medical providers in Florida who are both competent in performing top surgery, and

             even fewer who also take Medicaid.

                     17.      I finally found Dr. Danker, a surgeon at the University of Miami who

             accepts Medicaid for top surgeries, in January of 2022. I had my consultation with

             her in May and she recommended that I undergo gender-affirming chest surgery,

             which was approved by Medicaid. When I received my approval, I felt blessed to

             finally have the chance to obtain the gender affirming care I needed. But in an

             unfortunate turn of fate, I finally received the approval for the prior authorization on

             Thursday, August 11, 2022, and the next day I learned that the Agency for Health

             Care Administration (AHCA) had just adopted a rule that banned my care from being

             covered.

                     18.      I cannot describe the elation that I experienced upon learning I would

             finally be getting the surgery, and that I even had a date scheduled: December 22,

             2022. The countdown began immediately, and to say I was looking forward to it

             would be an understatement. It was finally real and attainable - I would be having

             top surgery and bringing my body into alignment with who I am. I would no longer

             have to wear a restrictive and painful binder to hide that part of my body. It was a

             punch in the gut to learn the very next day that the state of Florida had decided to
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             strip life-affirming medically necessary healthcare away from all transgender

             Floridians on Medicaid. It was the highest high followed by the lowest low.

                     19.      I cannot afford to pay for my testosterone prescriptions out of pocket,

             and I cannot afford to pay for my surgery that is scheduled for December 22nd out of

             pocket. If this ban remains in place, I will lose access to the care for my gender

             dysphoria that medical professionals have determined is medically necessary for my

             health and well-being.

                     20.      I do not have family members who can pay for my care. My dad is a

             single parent, who has arranged his entire life around being the sole-caretaker for

             my twin sister, who has cerebral palsy and other disabilities. My dad needs to have

             the same schedule as my sister because she requires around the clock care and

             attention. As such, he has worked as a teachers’ assistant for students with special

             education needs in the Broward County School District, a job which pays

             approximately $21,000 per year. He is barely able to make ends meet and could not

             afford to financially help me get access to the medical care I need.

                     21.      I worked hard to obtain a Florida Bright Futures scholarship so that I

             would be able to attend college. I also received a Top Ten Knights Scholarship from

             the University of Central Florida. I have spent so long fighting to become the man

             that I know myself to be. I have overcome obstacles and worked hard to get where I

             am today, yet the state has created an unnecessary additional barrier blocking me
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             from care that would allow me to feel like my body is truly mine. I am legally male

             in the eyes of the state and federal government, I have testosterone circulating

             through my body and I have grown facial hair, yet I still live in fear every day that I

             will be misperceived as female due to my chest, or perceived as transgender for that

             reason. For transgender people, especially in places like here in Florida,

             discrimination, harassment, and violence against our community is common, and

             this puts me at risk of danger just for existing.

                     22.      I am challenging this discriminatory rule not only for myself, but for

             every trans person out there who is being told by the state that their health and well-

             being does not matter. Though I have always been very shy, I have also always stood

             up for what is right. In high school, I recognized how lucky I was to have a

             supportive parent who loved me for who I was. Not everyone has that. There were

             multiple transgender students at my school alone who attempted or died by suicide,

             so I decided that I needed to advocate for those who didn’t have the support that I

             had. I was invited to join the Broward County Superintendent’s LGBTQ+ Advisory

             Council, and I was the President of my school’s GSA. I supported my fellow

             transgender classmates the best that I could, because everyone deserves to feel

             accepted for who they are. I know what is right and what is wrong, and stripping

             transgender people, like myself, of healthcare and treating us differently than others

             solely for being transgender is wrong.
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                     I declare under penalty of perjury that the foregoing is true and correct.

             Executed this 9th day of September 2022.

                                                             Respectfully Submitted,

                                                             _________________________
                                                             Brit Rothstein
